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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF OKLAHOMA

CAMEO HOLLAND, an Individual and                 )
Next of Kin to Minor Child, S.R., Deceased,      )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )       Case No. CIV-21-275-J
                                                 )
CITY OF OKLAHOMA CITY, et al.,                   )
                                                 )
               Defendants.                       )

                                             ORDER

       Before the Court is Defendant City of Oklahoma City’s (City) Motion to Dismiss

Defendant Officers and Defendant Gourley in Their Official Capacities [Doc. No. 13]. Plaintiff

has filed her response. In her response, Plaintiff states that she does not object to dismissing the

official capacity claims against Defendants Corey Adams, Jared Barton, Brad Pemberton, Bethany

Sears, John Skuta, and Wade Gourley.

       Accordingly, the Court GRANTS City’s Motion to Dismiss Defendant Officers and

Defendant Gourley in Their Official Capacities [Doc. No. 13] and DISMISSES Plaintiff’s official

capacity claims against Defendants Adams, Barton, Pemberton, Sears, Skuta, and Gourley.

       IT IS SO ORDERED this 6th day of July, 2021.
